Case 2:06-cr-00382-WHW              Document 115       Filed 03/18/10    Page 1 of 2 PageID: 509



2 00 2 RO 112 1/am
                                                       UNITED STATES DISTRICT COURT
                                                          DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                         :     Hon.   William H.        Walls

                      v.                         :      Criminal Number:         06-382    (WHW)

JOHN PARKINSON                                   :     ORDER FOR DISMISSAL


                      Under Rule 48(a)      of the Federal Rules of Criminal

Procedure and by leave of Court endorsed hereon,                           Paul J.       Fishman,

the United States Attorney for the District of New Jersey,                                 hereby

dismisses all counts of the Indictment,                       Criminal Number 06-382

(WHW),         against defendant John Parkinson,               which Indictment was

filed on May 17,             2006 and charged him with conspiracy to commit

major fraud against the United States                      (18 U.S.C.      § 371),       major

fraud against the United States                      (18 U.S.C.   §   1031) ,    false

statements             (18 U.S.C.   §   1001),   and aiding and abetting            (18 U.S.C.

§ 2)      because defendant John Parkinson died on or about February

8,    2010.




                                                       AUL J. FISF*vN
                                                       United States Attorney

                      Leave of Court is granted for the fling of the

foregoing dismissal.




                      /7       J        V
                                                       HON. WILL             ALLS
Date:
                     7_                                United Stat,       Senior District
                                                        Judge
                                                                  /
      Case 2:06-cr-00382-WHW
John Parkinson                        Document
               Obituary: John Parkinson’s Obituary115
                                                   by the Filed 03/18/10
                                                          Star-Ledger.                                             510 1 of I
                                                                                               Page 2 of 2 PageID:Page



  John Parkinson
  John Parkinson, 87, passed away Monday, Feb. 8, 2010. Born in Yorkshire, England, Mr. Parkinson was presently residing in
  Randolph, N.J., with his beloved wife of 47 years, Joan Parkinson. He was president and owner of several filter companies in the
  United States, Canada, and England. He was a graduate of Loughborough College, Leicester, England, had an Associate
  Fellowship in the Royal Aeronautical Society of Great Britain, and was a graduate of Institute of Industrial Administration. He was a
  member of the Society of Engineers, England, Engineering Institute of Canada, American Society of Naval Engineers, East India
  Club, England, Reactionaries original group working on the development of the 1st jet engine. He was a Fellow of British
  Management, England, and an honorary First Citizen of City of Watertown, N.Y. He had three patents granted in several countries
  and wrote technical articles for several U.K. and Canadian publications. Funeral services will be held Friday, Feb. 12, 2010, 8:30
  p.m. at Tuttle Funeral Home, 272 State Route 10 West, Randolph. Visitation is Friday, Feb. 12, from 7 to 9 p.m. at the funeral
  home. (www.tuttlefh.com) In lieu of flowers, donations are requested in his memory to the American Heart Association, 1 Union
  Street, Suite 301, Robbinsville, NJ 08691.


  Published in Star-Ledger on February 10, 2010




http://obits.nj .com/obituaries/starledger/obituary-print.aspx?n=john-parkinson&pid= 139588559                              2/12/2010
